       Case 3:20-cv-00618-SDD-EWD              Document 1       09/16/20 Page 1 of 9




                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA

 Kenyiatta Jones, individually and on behalf of all others
 similarly situated;                                                    Civil Action No: 3:20-cv-618
                                           Plaintiff,
                                                                         CLASS ACTION COMPLAINT

                                                                          DEMAND FOR JURY TRIAL



        -v.-
 Radius Global Solutions LLC and
 John Does 1-25

                                       Defendant.


Plaintiff Kenyiatta Jones (hereinafter, “Plaintiff”), a Louisiana resident, brings this Class Action

Complaint by and through her attorneys, Hair Shunnarah Trial Attorneys, LLC, against Defendant

Radius Global Solutions LLC (hereinafter “Defendant Radius”) individually and on behalf of a class

of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to Plaintiff,

which are based upon Plaintiff's personal knowledge.



                         INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the Fair Debt Collection Practices Act (hereinafter “the FDCPA”) in

   1977 in response to the "abundant evidence of the use of abusive, deceptive, and unfair debt

   collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was

   concerned that "abusive debt collection practices contribute to the number of personal bankruptcies,

   to material instability, to the loss of jobs, and to invasions of individual privacy." Id. Congress

   concluded that "existing laws…[we]re inadequate to protect consumers," and that "'the effective

   collection of debts" does not require "misrepresentation or other abusive debt collection practices."
   Case 3:20-cv-00618-SDD-EWD              Document 1       09/16/20 Page 2 of 9




15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive debt

collection practices, but also to "insure that those debt collectors who refrain from using abusive

debt collection practices are not competitively disadvantaged." Id. § 1692(e). “After determining

that the existing consumer protection laws ·were inadequate.” Id. § l692(b), Congress gave

consumers a private cause of action against debt collectors who fail to comply with the Act. Id. §

1692k.

                                   JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in this action

pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                                     NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of Louisiana consumers under

§1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory relief.

                                             PARTIES

   7.      Plaintiff is a resident of the State of Louisiana, Parish of East Baton Rouge, residing at

1433 Texas Ave, Baker, LA 70714.

   8.      Defendant Radius is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a)(6)

and used in the FDCPA with an address at 7831 Glenroy Rd., Suite 250-A, Minneapolis, MN

55439.

   9.      Upon information and belief, Defendant Radius is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to
    Case 3:20-cv-00618-SDD-EWD              Document 1       09/16/20 Page 3 of 9




attempt to collect debts alleged to be due another.

   10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                     CLASS ALLEGATIONS
   11.     Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ. P.

23(a) and 23(b)(3).

   12.     The Class consists of:

           a. all individuals with addresses in the State of Louisiana;

           b. to whom Defendant Radius sent a collection letter attempting to collect a consumer

               debt;

           c. that falsely states that a payment on the debt will not restart the statute of

               limitations;

           d. which letter was sent on or after a date one (1) year prior to the filing of this action

               and on or before a date twenty-one (2l) days after the filing of this action.

   13.     The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or have

purchased debts.

   14.     Excluded from the Plaintiff Class are the Defendants and all officer, members, partners,

managers, directors and employees of the Defendants and their respective immediate families, and

legal counsel for all parties to this action, and all members of their immediate families.

   15.     There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue is

whether the Defendants' written communications to consumers, in the forms attached as Exhibit A,

violate 15 U.S.C. §§ l692e, 1692f.
    Case 3:20-cv-00618-SDD-EWD              Document 1       09/16/20 Page 4 of 9




   16.     The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the Plaintiff

Class defined in this complaint. The Plaintiff has retained counsel with experience in handling

consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor her

attorneys have any interests, which might cause them not to vigorously pursue this action.

   17.     This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

           a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges, that

               the Plaintiff Class defined above is so numerous that joinder of all members would

               be impractical.

           b. Common Questions Predominate: Common questions of law and fact exist as to

               all members of the Plaintiff Class and those questions predominance over any

               questions or issues involving only individual class members. The principal issue is

               whether the Defendants' written communications to consumers, in the forms

               attached as Exhibit A violate 15 USC §l692e, 1692f.

           c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

               The Plaintiff and all members of the Plaintiff Class have claims arising out of the

               Defendants' common uniform course of conduct complained of herein.

           d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the class

               members insofar as Plaintiff has no interests that are adverse to the absent class

               members. The Plaintiff is committed to vigorously litigating this matter. Plaintiff has

               also retained counsel experienced in handling consumer lawsuits, complex legal

               issues, and class actions. Neither the Plaintiff nor her counsel have any interests

               which might cause them not to vigorously pursue the instant class action lawsuit.
    Case 3:20-cv-00618-SDD-EWD              Document 1       09/16/20 Page 5 of 9




           e. Superiority: A class action is superior to the other available means for the fair and

                efficient adjudication of this controversy because individual joinder of all members

                would be impracticable. Class action treatment will permit a large number of

                similarly situated persons to prosecute their common claims in a single forum

                efficiently and without unnecessary duplication of effort and expense that individual

                actions would engender.

   18.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is

also appropriate in that the questions of law and fact common to members of the Plaintiff Class

predominate over any questions affecting an individual member, and a class action is superior to

other available methods for the fair and efficient adjudication of the controversy.

   19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at the

time of class certification motion, seek to certify a class(es) only as to particular issues pursuant to

Fed. R. Civ. P. 23(c)(4).


                                     FACTUAL ALLEGATIONS

   20.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length herein.

   21.     Some time prior to October 1, 2019, an obligation was allegedly incurred to Laboratory

Corporation of America.

   22.     The Laboratory Corporation of America obligation arose out of transactions in which

money, property, insurance or services, which are the subject of the transaction, were primarily for

personal, family or household purposes, specifically medical services.

   23.     The alleged Laboratory Corporation of America obligation is a "debt" as defined by 15

U.S.C.§ 1692a (5)

   24.     Laboratory Corporation of America contracted with the Defendant Radius to collect the

alleged debt.
    Case 3:20-cv-00618-SDD-EWD                  Document 1     09/16/20 Page 6 of 9




    25.     Defendant Radius collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United States

Postal Services, telephone and internet.


                                Violation -October 1, 2019 Collection Letter

    26.     On or about October 1, 2019, Defendant Radius sent Plaintiff a collection letter (the

“Letter”) regarding the alleged debt owed to Laboratory Corporation of America. See Exhibit A.

    27.     The Collection Letter offers a plan to the balance of $235.58 in partial payments and

states in part: “The law limits how long you can be sued on a debt. Because of the age of your

debt, you cannot be sued for it, but you may choose to make payments. Payment on this debt will

not renew the debt or restart the time for filing of a lawsuit against you.”

    28.     The letter is deceptive and misleading by stating that a payment on this debt will not

restart the statute of limitations.

    29.     Under Louisiana law, entering into a payment plan with partial payments could restart

the statute of limitations.

    30.     The letter misleads the consumer regarding Louisiana law by stating in absolute terms

that payment on this debt will not restart the statute of limitations, when entering into a payment

plan will restart the statute of limitations.

    31.     Defendants made deceptive and misleading representations when they mislead the

Plaintiff by stating that a partial payment will not re-start the statute of limitations.

    32.     As a result of Defendants’ deceptive, misleading and unfair debt collection practices,

Plaintiff has been damaged.



                                                COUNT I

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e et

seq.
    Case 3:20-cv-00618-SDD-EWD             Document 1       09/16/20 Page 7 of 9




   33.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

   34.     Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

   35.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.

   36.     Defendants violated said section

   a.      by creating a false and misleading representation of the status of the debt/and the effect

of partial payment of the debt in violation of §1692e(10); and

   b.      by falsely representing the character, amount or legal status of the debt in violation of

§1692e(2)(A);

   37.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs and

attorneys’ fees.



                                          COUNT II

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692f et

seq.



   38.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

   39.     Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

   40.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or unconscionable

means in connection with the collection of any debt.
       Case 3:20-cv-00618-SDD-EWD               Document 1      09/16/20 Page 8 of 9




       41.     Defendants violated this section by omitting material information that gave Plaintiff a

   false understanding of the proper legal status of the debt and the ramifications of specific actions.

       42.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

   conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs and

   attorneys’ fees.




                                   DEMAND FOR TRIAL BY JURY

       43.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

   trial by jury on all issues so triable.



                                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff Kenyiatta Jones, individually and on behalf of all others similarly situated,

demands judgment from Defendant Radius as follows:


       1.      Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Samuel J. Ford, Esq. as Class Counsel;


       2.      Awarding Plaintiff and the Class statutory damages;


       3.      Awarding Plaintiff and the Class actual damages;


       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;


       5.      Awarding pre-judgment interest and post-judgment interest; and
      Case 3:20-cv-00618-SDD-EWD            Document 1     09/16/20 Page 9 of 9




      6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.



DATED: September 16, 2020                 RESPECTFULLY SUBMITTED,

                                          /s/ Samuel J. Ford
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